      Case 1:20-cv-01587-WMR Document 51 Filed 08/18/20 Page 1 of 2




            UNITED STATES DISTRICT COURT
            NORTHERN DISTRICT OF GEORGIA
                  ATLANTA DIVISION
                             1:20-cv-01587-WMR
 Georgia Association of Latino Elected Officials, Inc. et al v. Gwinnett County
                  Board of Registration and Elections et al
                        Honorable William M. Ray, II


            Minute Sheet for proceedings held In Open Court on 08/18/2020.

TIME COURT COMMENCED: 9:36 A.M.
TIME COURT CONCLUDED: 11:45 A.M.                 COURT REPORTER: Wynette Blathers
TIME IN COURT: 2:09                              DEPUTY CLERK: Stephanie Pittman
OFFICE LOCATION: Atlanta

ATTORNEY(S)      Bryan Jacoutot representing Gwinnett County Board of Registration and
PRESENT:         Elections
                 Bryan Jacoutot representing Alice O'Lenick
                 Bryan Jacoutot representing Beauty Baldwin
                 Bryan Jacoutot representing Ben Satterfield
                 Bryan Jacoutot representing John Mangano
                 Bryan Jacoutot representing Stephen Day
                 Diane LaRoss representing Gwinnett County Board of Registration and
                 Elections
                 Diane LaRoss representing Alice O'Lenick
                 Diane LaRoss representing Beauty Baldwin
                 Diane LaRoss representing Ben Satterfield
                 Diane LaRoss representing John Mangano
                 Diane LaRoss representing Stephen Day
                 Loree Anne Paradise representing Gwinnett County Board of
                 Registration and Elections
                 Loree Anne Paradise representing Alice O'Lenick
                 Loree Anne Paradise representing Beauty Baldwin
                 Loree Anne Paradise representing Ben Satterfield
                 Loree Anne Paradise representing John Mangano
                 Loree Anne Paradise representing Stephen Day
                 John Powers representing Asian Americans Advancing Justice - Atlanta,
                 Inc.
                 John Powers representing Common Cause
                 John Powers representing Georgia Association of Latino Elected
                 Officials, Inc.
                 John Powers representing Georgia Coalition for the People's Agenda, Inc.
        Case 1:20-cv-01587-WMR Document 51 Filed 08/18/20 Page 2 of 2




                    John Powers representing New Georgia Project
                    John Powers representing Albert Mendez
                    John Powers representing Limary Ruiz Torres
                    Bryan Sells representing Asian Americans Advancing Justice - Atlanta,
                    Inc.
                    Bryan Sells representing Common Cause
                    Bryan Sells representing Georgia Association of Latino Elected Officials,
                    Inc.
                    Bryan Sells representing Georgia Coalition for the People's Agenda, Inc.
                    Bryan Sells representing New Georgia Project
                    Bryan Sells representing Albert Mendez
                    Bryan Sells representing Limary Ruiz Torres
                    Miles Skedsvold representing Brad Raffensperger
                    Bryan Tyson representing Gwinnett County Board of Registration and
                    Elections
                    Bryan Tyson representing Alice O'Lenick
                    Bryan Tyson representing Beauty Baldwin
                    Bryan Tyson representing Ben Satterfield
                    Bryan Tyson representing John Mangano
                    Bryan Tyson representing Stephen Day
                    Elizabeth Young representing Brad Raffensperger
PROCEEDING
              Motion Hearing (Motion Hearing Non-evidentiary)
CATEGORY:
MOTIONS RULED [38] Motion to Dismiss TAKEN UNDER ADVISEMENT
ON:           [39] Motion to Dismiss TAKEN UNDER ADVISEMENT

MINUTE TEXT:    The court conducted oral argument via zoom re the pending [38] and [39]
                motions to dismiss. The motions were taken under advisement. Written
                order to follow.
HEARING STATUS: Hearing Concluded
